                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

UNITED STATES OF AMERICA                        )       MATTICE/CARTER
                                                )
        v.                                      )       CASE NO. 4:12-CR-17
                                                )
WILLIAM WILLIAMS                                )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on June 12, 2012. At

the hearing, defendant entered a plea of guilty to the lesser included offense in Count One of the

Indictment, conspiracy to manufacture 5 grams or more of methamphetamine or 50 grams or more

of a mixture and substance containing methamphetamine, a Schedule II controlled substance, in

violation of 21 USC '' 846 and 841(a)(1) and (b)(1)(B), in exchange for the undertakings made by

the government in the written plea agreement. On the basis of the record made at the hearing, I

find that the defendant is fully capable and competent to enter an informed plea; that the plea is

made knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises, apart from the promises in the plea

agreement; that the defendant understands the nature of the charge and penalties provided by law;

and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the charges

set forth in the lesser included offense in Count One of the Indictment, and that the written plea

agreement be accepted at the time of sentencing. I further recommend that defendant remain in

custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance


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of the plea agreement, and imposition of sentence are specifically reserved for the district judge.

       The defendant=s sentencing date is scheduled for Monday, October 15, 2012, at 2:00 pm.



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                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. '636(b).




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